         Case 3:20-cr-01882-JLS Document 57 Filed 11/01/21 PageID.133 Page 1 of 1
                                                                          FILED
                         UNITED STATES DISTRICT COURT                      NOV O1 2021
                       SOUTHERN DISTRICT OF CALIFORNI
                                                                      CLERK, U.S. DISTRICT COURT
                                                                   SOUTHERN DISTRICT OF CALIFORNIA
                                                                  BY                          DEPUTY

 UNITED STATES OF AMERICA,                  CASE NO. 20CR1882-JLS

                        Plaintiff,
                vs.                         JUDG:MENT OF DISMISSAL
 JUAN CARLOS GARCIA,

                        Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

       an indictment has been filed in another case against the defendant and
       the Court has granted the motion of the Government for dismissal of
       this case, without prejudice; or

       the Court has dismissed the case for unnecessary delay; or

__x_   the Court has granted the motion of the Government for dismissal,
       without prejudice; or

       the Court has granted the motion of the defendant for a judgment of
       acquittal; or

       a jury has been waived, and the Court has found the defendant not
       guilty; or

       the jury has returned its verdict, finding the defendant not guilty;

__x_   of the offense(s) as charged in the Information:

       21 U.S.C., Secs. 952,    960 and 963 - Conspiracy to Import
       Methamphetamine

            IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: October 29, 2021
                                                   L. Sammartino
                                             U.S. District Judge
